Filed 04/04/18                                                               Case 18-22026                                                                         Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION

  Case number (if known)                                                         Chapter you are filing under:

                                                                                 Chapter 7
                                                                                  Chapter 11
                                                                                  Chapter 12
                                                                                  Chapter 13                                        Check if this an amended
                                                                                                                                      filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                        12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
 of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
 space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
 question.


  Part 1:   Identify Yourself

                                       About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

  1.   Your full name

       Write the name that is on       Peter
       your government-issued          First name                                                      First name
       picture identification (for
       example, your driver's          Marcello
       license or passport).           Middle name                                                     Middle name
       Bring your picture
       identification to your meeting
                                      Baga
       with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




  2.   All other names you have
       used in the last 8 years
       Include your married or
       maiden names.



  3.   Only the last 4 digits of
       your Social Security
       number or federal               xxx-xx-0332
       Individual Taxpayer
       Identification number
       (ITIN)




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  Debtor 1   Baga, Peter Marcello                                                                        Case number (if known)




                                   About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

  4.   Any business names and
       Employer Identification      I have not used any business name or EINs.
       Numbers (EIN) you have
                                   FDBA Baga Forgrave Interests, Inc                               I have not used any business name or EINs.
       used in the last 8 years
                                   FDBA Strategic Staffing
       Include trade names and     Business name(s)                                               Business name(s)
       doing business as names
                                   XX-XXXXXXX
                                   EINs                                                           EINs




  5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                   12691 Angie Ct
                                   Penn Valley, CA 95946-8907
                                   Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                   Nevada
                                   County                                                         County

                                   If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                   above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                   notices to you at this mailing address.                        address.



                                   Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




  6.   Why you are choosing        Check one:
       this district to file for                                                                  Check one:
       bankruptcy                        Over the last 180 days before filing this petition, I
                                          have lived in this district longer than in any other            Over the last 180 days before filing this petition, I have
                                          district.                                                        lived in this district longer than in any other district.

                                         I have another reason.                                          I have another reason.
                                          Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
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  Debtor 1    Baga, Peter Marcello                                                                          Case number (if known)



  Part 2:    Tell the Court About Your Bankruptcy Case

  7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
       Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
       choosing to file under
                                     Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13



  8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                          about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                          If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                          pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                          Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                          not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                          your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                          to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



  9.   Have you filed for
       bankruptcy within the last
                                    No.
       8 years?                      Yes.
                                               District                                  When                              Case number
                                               District                                  When                              Case number
                                               District                                  When                              Case number



  10. Are any bankruptcy cases
      pending or being filed by
                                    No
      a spouse who is not filing     Yes.
      this case with you, or by
      a business partner, or by
      an affiliate?
                                               Debtor                                                                     Relationship to you
                                               District                                  When                             Case number, if known
                                               Debtor                                                                     Relationship to you
                                               District                                  When                             Case number, if known



  11. Do you rent your               No.        Go to line 12.
      residence?
                                    Yes.        Has your landlord obtained an eviction judgment against you?

                                                         No. Go to line 12.

                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                          bankruptcy petition.




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
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  Debtor 1    Baga, Peter Marcello                                                                              Case number (if known)



  Part 3:    Report About Any Businesses You Own as a Sole Proprietor

  12. Are you a sole proprietor
      of any full- or part-time        No.         Go to Part 4.
      business?
                                        Yes.       Name and location of business
       A sole proprietorship is a
       business you operate as an                   Name of business, if any
       individual, and is not a
       separate legal entity such as
       a corporation, partnership,
       or LLC.
                                                    Number, Street, City, State & ZIP Code
       If you have more than one
       sole proprietorship, use a
       separate sheet and attach it
       to this petition.                            Check the appropriate box to describe your business:
                                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                           None of the above

  13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
      Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
      you a small business             U.S.C. 1116(1)(B).
      debtor?

       For a definition of small
                                       No.         I am not filing under Chapter 11.

       business debtor, see 11
       U.S.C. § 101(51D).               No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                    Code.

                                        Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


  Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  14. Do you own or have any
      property that poses or is
                                       No.
      alleged to pose a threat of       Yes.
      imminent and identifiable                  What is the hazard?
      hazard to public health or
      safety? Or do you own
      any property that needs                    If immediate attention is
      immediate attention?                       needed, why is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,               Where is the property?
       or a building that needs
       urgent repairs?
                                                                                Number, Street, City, State & Zip Code




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
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  Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                       About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  15. Tell the court whether           You must check one:                                             You must check one:
      you have received a
                                        Icounseling
                                             received a briefing from an approved credit                I received a briefing from an approved credit
      briefing about credit                             agency within the 180 days before I                counseling agency within the 180 days before I filed
      counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                           certificate of completion.                                      completion.
       The law requires that you
       receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
       credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
       file for bankruptcy. You
       must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
       the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
       cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
       eligible to file.                   certificate of completion.                                       of completion.

       If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
       can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
       will lose whatever filing fee       plan, if any.
       you paid, and your creditors
       can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
       activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                           unable to obtain those services during the 7                     those services during the 7 days after I made my
                                           days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                           circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                           of the requirement.
                                                                                                            To ask for a 30-day temporary waiver of the requirement,
                                           To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                           requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                           efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                           unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                           what exigent circumstances required you to file this
                                           case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                            your reasons for not receiving a briefing before you filed for
                                           Your case may be dismissed if the court is                       bankruptcy.
                                           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                           If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                           still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                           You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                           along with a copy of the payment plan you developed,             your case may be dismissed.
                                           if any. If you do not do so, your case may be
                                                                                                            Any extension of the 30-day deadline is granted only for
                                           dismissed.
                                                                                                            cause and is limited to a maximum of 15 days.
                                           Any extension of the 30-day deadline is granted only
                                           for cause and is limited to a maximum of 15 days.
                                          I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                           credit counseling because of:                                    counseling because of:

                                                 Incapacity.                                                   Incapacity.
                                                  I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                  that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                  rational decisions about finances.                             decisions about finances.

                                                 Disability.                                                   Disability.
                                                  My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                  to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                  or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                  tried to do so.

                                                 Active duty.                                                  Active duty.
                                                  I am currently on active military duty in a                    I am currently on active military duty in a military
                                                  military combat zone.                                          combat zone.
                                           If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                           about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                           waiver credit counseling with the court.                         counseling with the court.




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
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  Debtor 1    Baga, Peter Marcello                                                                             Case number (if known)

  Part 6:    Answer These Questions for Reporting Purposes

  16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                           incurred by an
      you have?                                individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                                Yes. Go to line 17.
                                     16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                               for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                               Yes. Go to line 17.
                                     16c.      State the type of debts you owe that are not consumer debts or business debts



  17. Are you filing under            No.     I am not filing under Chapter 7. Go to line 18.
      Chapter 7?

       Do you estimate that after
       any exempt property is
                                     Yes.     I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
                                               paid that funds will be available to distribute to unsecured creditors?
       excluded and
       administrative expenses
       are paid that funds will be
                                               No
       available for distribution               Yes
       to unsecured creditors?

  18. How many Creditors do          1-49                                             1,000-5,000                                 25,001-50,000
      you estimate that you                                                            5001-10,000                                 50,001-100,000
      owe?                            50-99
                                      100-199                                         10,001-25,000                               More than100,000
                                      200-999

  19. How much do you                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
      estimate your assets to                                                          $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
      be worth?                       $50,001 - $100,000
                                      $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

  20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
      estimate your liabilities to    $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
      be?
                                      $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                     $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

  Part 7:    Sign Below

  For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                     If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                     States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                     have obtained and read the notice required by 11 U.S.C. § 342(b).

                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                     case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                     /s/ Peter Baga
                                     Peter Marcello Baga                                                Signature of Debtor 2
                                     Signature of Debtor 1

                                     Executed on      February 21, 2018                                 Executed on
                                                      MM / DD / YYYY                                                     MM / DD / YYYY




  Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
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  Debtor 1   Baga, Peter Marcello                                                                              Case number (if known)




  For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
  represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                  person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
  If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
  an attorney, you do not need    petition is incorrect.
  to file this page.
                                  /s/ Matthew Spielberg                                                 Date         February 21, 2018
                                  Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                  Matthew Spielberg
                                  Printed name

                                  Law Offices of Matthew Spielberg
                                  Firm name


                                  21855 Redwood Rd
                                  Castro Valley, CA 94546-6435
                                  Number, Street, City, State & ZIP Code

                                  Contact phone    (510) 886-5751                                 Email address         mspielberg@earthlink.net
                                  72773
                                  Bar number & State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
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                                                          Certificate Number: 17082-CAE-CC-030689089


                                                                         17082-CAE-CC-030689089




                               CERTIFICATE OF COUNSELING

           I CERTIFY that on March 8, 2018, at 5:57 o'clock PM MST, PETER M BAGA
           received from Summit Financial Education, Inc., an agency approved pursuant to
           11 U.S.C. § 111 to provide credit counseling in the Eastern District of California,
           an individual [or group] briefing that complied with the provisions of 11 U.S.C.
           §§ 109(h) and 111.
           A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
           copy of the debt repayment plan is attached to this certificate.
           This counseling session was conducted by internet.




           Date:   March 8, 2018                          By:      /s/Elena Ramirez


                                                          Name: Elena Ramirez


                                                          Title:   Credit Counselor




           * Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
           Code are required to file with the United States Bankruptcy Court a completed certificate of
           counseling from the nonprofit budget and credit counseling agency that provided the individual
           the counseling services and a copy of the debt repayment plan, if any, developed through the
           credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
Filed 04/04/18                                                                            Case 18-22026                                                                                            Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Peter Marcello Baga
                                First Name                           Middle Name                          Last Name

     Debtor 2
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


                                                              EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:                  DIVISION

     Case number
     (if known)
                                                                                                                                                                         Check if this is an
                                                                                                                                                                          amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                 12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                         Your assets
                                                                                                                                                                         Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................       $                      0.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................            $              44,866.00

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $              44,866.00

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                         $              22,000.00

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                           Schedule E/F.................................                                 $                4,399.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                              Schedule E/F............................                                   $             826,279.00


                                                                                                                                         Your total liabilities $                   852,678.00


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 ofSchedule I................................................................................                  $                2,300.00

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                             $                3,015.00

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                   Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                    purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
     Official Form 106Sum            Summary of Your Assets and Liabilities and Certain Statistical Information                         page 1 of 2
    Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
Filed 04/04/18                                                            Case 18-22026                                                               Doc 1
     Debtor 1     Baga, Peter Marcello                                                           Case number (if known)

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                              Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                    $                  0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $              4,399.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $                  0.00

           9d. Student loans. (Copy line 6f.)                                                                  $                  0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                                $                  0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$                  0.00


           9g. Total. Add lines 9a through 9f.                                                            $                 4,399.00




    Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
    Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
Filed 04/04/18                                                                     Case 18-22026                                                                            Doc 1
     Fill in this information to identify your case and this filing:

     Debtor 1                 Peter Marcello Baga
                              First Name                      Middle Name                    Last Name

     Debtor 2
     (Spouse, if filing)      First Name                      Middle Name                    Last Name


     United States Bankruptcy Court for the:           EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION

     Case number                                                                                                                                     Check if this is an
                                                                                                                                                      amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                      12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.
        Yes.      Where is the property?

     Part 2: Describe Your Vehicles


    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
       Yes

      3.1      Make:       Ram                                   Who has an interest in the property? Check one        Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
               Model:      1500                                  Debtor 1 only                                        Creditors Who Have Claims Secured by Property .
               Year:       2014                                   Debtor 2 only                                       Current value of the      Current value of the
               Approximate mileage:               46000           Debtor 1 and Debtor 2 only                          entire property?          portion you own?
               Other information:                                 At least one of the debtors and another

                                                                  Check if this is community property                         $21,154.00                  $22,789.00
                                                                      (see instructions)



      3.2      Make:     Dodge                                   Who has an interest in the property? Check one        Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
               Model:    Ram Pickup 2500                         Debtor 1 only                                        Creditors Who Have Claims Secured by Property .
               Year:     2007                                     Debtor 2 only                                       Current value of the      Current value of the
               Approximate mileage:    140000                     Debtor 1 and Debtor 2 only                          entire property?          portion you own?
               Other information:                                 At least one of the debtors and another
              salvage title
                                                                  Check if this is community property                         $12,469.00                  $12,469.00
                                                                      (see instructions)




    Official Form 106A/B                                                      Schedule A/B: Property                                                                page 1
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Filed 04/04/18                                                                     Case 18-22026                                                                             Doc 1
     Debtor 1         Baga, Peter Marcello                                                                         Case number (if known)


      3.3    Make:                                               Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
             Model:                                              Debtor 1 only                                            Creditors Who Have Claims Secured by Property .
             Year:                                                Debtor 2 only                                           Current value of the      Current value of the
             Approximate mileage:                                 Debtor 1 and Debtor 2 only                              entire property?          portion you own?
             Other information:                                   At least one of the debtors and another
            2005 Harley Davidson Sportster
                                                                  Check if this is community property                               $2,500.00                 $2,500.00
                                                                      (see instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

       No
        Yes


     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       .you have attached for Part 2. Write that number here.............................................................................=>                $37,758.00

     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                            Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
    6. Household goods and furnishings
        Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes.     Describe.....
                                       mountain bike                                                                                                               $100.00

                                       used household goods and funishings                                                                                      $3,000.00


    7. Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                   including cell phones, cameras, media players, games
        No
        Yes.     Describe.....
                                       electronics                                                                                                                 $500.00


    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections; other
                   collections, memorabilia, collectibles
        No
         Yes.    Describe.....

    9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools; musical
                  instruments
        No
         Yes.    Describe.....

    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
         Yes.    Describe.....

    11. Clothes
         Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes.     Describe.....
    Official Form 106A/B                                                    Schedule A/B: Property                                                                     page 2
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Filed 04/04/18                                                                                      Case 18-22026                                                                 Doc 1
     Debtor 1          Baga, Peter Marcello                                                                                      Case number (if known)

                                                used clothing                                                                                                           $500.00


    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes.        Describe.....
                                                jewelry                                                                                                                 $500.00


    13. Non-farm animals
         Examples: Dogs, cats, birds, horses
        No
         Yes.       Describe.....

    14. Any other personal and household items you did not already list, including any health aids you did not list
        No
         Yes.       Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached for
         Part 3. Write that number here ..............................................................................                                             $4,600.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

    16. Cash
         Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................
                                                                                                                                    cash on hand                          $70.00


    17. Deposits of money
         Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                     institutions. If you have multiple accounts with the same institution, list each.
        No
       Yes........................                                     Institution name:


                                                  17.1.      Checking Account                       Provident FCU                                                         $10.00



                                                  17.2.      Savings Account                        Provident FCU                                                         $10.00



                                                  17.3.      Checking Account                       Provident FCU                                                     $1,800.00


                                                             Other Financial
                                                  17.4.      Account                                Provident FCU IRA                                                   $418.00


                                                             Other Financial                        Patelco FCU, 1/3 interest in trust, total
                                                  17.5.      Account                                deposit $600                                                        $200.00


    18. Bonds, mutual funds, or publicly traded stocks
         Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
         Yes..................                            Institution or issuer name:

    Official Form 106A/B                                                                     Schedule A/B: Property                                                         page 3
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     Debtor 1        Baga, Peter Marcello                                                                         Case number (if known)

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
         joint venture
        No
         Yes.     Give specific information about them...................
                                         Name of entity:                                                            % of ownership:

    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
         Yes. Give specific information about them
                                               Issuer name:

    21. Retirement or pension accounts
         Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
         Yes. List each account separately.
                                            Type of account:                   Institution name:

    22. Security deposits and prepayments
         Your share of all unused deposits you have made so that you may continue service or use from a company
         Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
         Yes. .....................                                           Institution name or individual:

    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
         Yes.............             Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
         Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
         Yes.     Give specific information about them...

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
         Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
         Yes.     Give specific information about them...

    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
         Yes.     Give specific information about them...

     Money or property owed to you?                                                                                                         Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

    28. Tax refunds owed to you
        No
         Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
         Yes. Give specific information......



    Official Form 106A/B                                                  Schedule A/B: Property                                                              page 4
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Filed 04/04/18                                                                        Case 18-22026                                                                                  Doc 1
     Debtor 1        Baga, Peter Marcello                                                                                       Case number (if known)

    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
                                                                                                                   compensation, Social Security benefits;
                  unpaid loans you made to someone else
        No
         Yes.     Give specific information..

    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’
                                                                                                         s, or renter’
                                                                                                                     s insurance
        No
         Yes. Name the insurance company of each policy and list its value.
                                               Company name:                                                         Beneficiary:                              Surrender or refund
                                                                                                                                                               value:

    32. Any interest in property that is due you from someone who has died
         If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because someone has
         died.
        No
         Yes.     Give specific information..


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
         Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
         Yes.     Describe each claim.........

    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
         Yes.     Describe each claim.........

    35. Any financial assets you did not already list
        No
         Yes.     Give specific information..


     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached for
         Part 4. Write that number here.....................................................................................................................           $2,508.00

     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

    37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
        Yes.    Go to line 38.



     Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.

    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
           Yes.    Go to line 47.


     Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

    53. Do you have other property of any kind you did not already list?
         Examples: Season tickets, country club membership
        No
         Yes. Give specific information.........

     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                               $0.00




    Official Form 106A/B                                                        Schedule A/B: Property                                                                          page 5
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Filed 04/04/18                                                                                Case 18-22026                                                                             Doc 1
     Debtor 1         Baga, Peter Marcello                                                                                                  Case number (if known)

     Part 8:         List the Totals of Each Part of this Form


     55. Part 1: Total real estate, line 2 ......................................................................................................................               $0.00
     56. Part 2: Total vehicles, line 5                                                                           $37,758.00
     57. Part 3: Total personal and household items, line 15                                                       $4,600.00
     58. Part 4: Total financial assets, line 36                                                                   $2,508.00
     59. Part 5: Total business-related property, line 45                                                              $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
     61. Part 7: Total other property not listed, line 54                                             +                $0.00

     62. Total personal property. Add lines 56 through 61...                                                      $44,866.00              Copy personal property total     $44,866.00

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $44,866.00




    Official Form 106A/B                                                               Schedule A/B: Property                                                                    page 6
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Filed 04/04/18                                                                 Case 18-22026                                                                                  Doc 1
     Fill in this information to identify your case:

     Debtor 1                Peter Marcello Baga
                             First Name                       Middle Name                      Last Name

     Debtor 2
     (Spouse if, filing)     First Name                       Middle Name                      Last Name


                                                        EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:            DIVISION

     Case number
     (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                 amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                       4/16

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
    property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
    out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
    known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
    applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
    to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
    applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions.         11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on          Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                  portion you own
                                                                 Copy the value from        Check only one box for each exemption.
                                                                 Schedule A/B

          Dodge                                                                                                                      CCCP § 703.140(b)(2)
          Ram Pickup 2500
                                                                       $12,469.00                                     $5,350.00
          2007                                                                                  100% of fair market value, up to
          140000                                                                                 any applicable statutory limit
          Line from Schedule A/B: 3.2

          Dodge                                                                                                                      CCCP § 703.140(b)(5)
          Ram Pickup 2500
                                                                       $12,469.00                                     $1,425.00
          2007                                                                                  100% of fair market value, up to
          140000                                                                                 any applicable statutory limit
          Line from Schedule A/B: 3.2

          Dodge                                                                                                                      CCCP § 703.140(b)(5)
          Ram Pickup 2500
                                                                       $12,469.00                                     $5,694.00
          2007                                                                                  100% of fair market value, up to
          140000                                                                                 any applicable statutory limit
          Line from Schedule A/B: 3.2

          2005 Harley Davidson Sportster                                                                                             CCCP § 703.140(b)(5)
          Line from Schedule A/B: 3.3
                                                                        $2,500.00                                     $2,500.00
                                                                                                100% of fair market value, up to
                                                                                                 any applicable statutory limit




    Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                           page 1 of 3
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Filed 04/04/18                                                                 Case 18-22026                                                                          Doc 1

         Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
         Schedule A/B that lists this property                   portion you own
                                                                 Copy the value from    Check only one box for each exemption.
                                                                 Schedule A/B

         mountain bike                                                                                                           CCCP § 703.140(b)(3)
         Line from Schedule A/B: 6.1
                                                                           $100.00                                  $100.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

         used household goods and                                                                                                CCCP § 703.140(b)(3)
         funishings
                                                                        $3,000.00                                 $3,000.00
         Line from Schedule A/B: 6.2                                                        100% of fair market value, up to
                                                                                             any applicable statutory limit

         electronics                                                                                                             CCCP § 703.140(b)(3)
         Line from Schedule A/B: 7.1
                                                                           $500.00                                  $500.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

         used clothing                                                                                                           CCCP § 703.140(b)(3)
         Line from Schedule A/B: 11.1
                                                                           $500.00                                  $500.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

         jewelry                                                                                                                 CCCP § 703.140(b)(4)
         Line from Schedule A/B: 12.1
                                                                           $500.00                                  $500.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

         cash on hand                                                                                                            CCCP § 703.140(b)(5)
         Line from Schedule A/B: 16.1
                                                                            $70.00                                   $70.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

         Provident FCU                                                                                                           CCCP § 703.140(b)(5)
         Line from Schedule A/B: 17.1
                                                                            $10.00                                   $10.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

         Provident FCU                                                                                                           CCCP § 703.140(b)(5)
         Line from Schedule A/B: 17.2
                                                                            $10.00                                   $10.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

         Provident FCU                                                                                                           CCCP § 703.140(b)(5)
         Line from Schedule A/B: 17.3
                                                                        $1,800.00                                 $1,800.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

         Provident FCU IRA                                                                                                       CCCP § 703.140(b)(10)(E)
         Line from Schedule A/B: 17.4
                                                                           $418.00                                  $418.00
                                                                                            100% of fair market value, up to
                                                                                             any applicable statutory limit

         Patelco FCU, 1/3 interest in trust,                                                                                     CCCP § 703.140(b)(5)
         total deposit $600
                                                                           $200.00                                  $200.00
         Line from Schedule A/B: 17.5                                                       100% of fair market value, up to
                                                                                             any applicable statutory limit




    Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                      page 2 of 3
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Filed 04/04/18                                                            Case 18-22026                                                Doc 1

     3. Are you claiming a homestead exemption of more than $160,375?
        (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




    Official Form 106C                                    Schedule C: The Property You Claim as Exempt                        page 3 of 3
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Filed 04/04/18                                                                   Case 18-22026                                                                                  Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Peter Marcello Baga
                                First Name                      Middle Name                      Last Name

     Debtor 2
     (Spouse if, filing)        First Name                      Middle Name                      Last Name


                                                         EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:             DIVISION

     Case number
     (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
    needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
    known).
    1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor ’ s name.                Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
             Wells Fargo Dealer
     2.1                                              Describe the property that secures the claim:                 $22,000.00               $21,154.00               $846.00
             Services
             Creditor's Name
                                                      2014 Ram 1500

             PO Box 25341                             As of the date you file, the claim is: Check all that
             Santa Ana, CA                            apply.
             92799-5341                                Contingent
             Number, Street, City, State & Zip Code    Unliquidated
                                                       Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                           car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another         Judgment lien from a lawsuit
      Check if this claim relates to a                Other (including a right to offset)
           community debt

     Date debt was incurred                                    Last 4 digits of account number



     Add the dollar value of your entries in Column A on this page. Write that number here:                                $22,000.00
     If this is the last page of your form, add the dollar value totals from all pages.
     Write that number here:                                                                                               $22,000.00

     Part 2:       List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 1
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Filed 04/04/18                                                                     Case 18-22026                                                                                             Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Peter Marcello Baga
                                First Name                       Middle Name                       Last Name

     Debtor 2
     (Spouse if, filing)        First Name                       Middle Name                      Last Name


                                                          EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:              DIVISION

     Case number
     (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                             amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
    D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
    the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and
    case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?
            No. Go to Part 2.
           Yes.
     2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
           identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
           possible, list the claims in alphabetical order according to the creditor ’ s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
           1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
           (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                            Total claim         Priority              Nonpriority
                                                                                                                                                amount                amount
                  CA Employment Development
     2.1          Department                                           Last 4 digits of account number         8230               $4,399.00            $4,399.00                    $0.00
                  Priority Creditor's Name
                                                                       When was the debt incurred?
                  Bankruptcy Special Procedures
                  Group
                  Sacramento, CA 94280-0001
                  Number Street City State ZIp Code                    As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                           Contingent
            Debtor 1 only                                              Unliquidated
             Debtor 2 only                                             Disputed
             Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

             At least one of the debtors and another                   Domestic support obligations
             Check if this claim is for a community debt              Taxes and certain other debts you owe the government
            Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
            No                                                         Other. Specify
             Yes




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                IRS Centralized Insolvency
     2.2        Operation                                             Last 4 digits of account number                           unknown                      $0.00                 $0.00
                Priority Creditor's Name
                                                                      When was the debt incurred?
                PO Box 7346
                Philadelphia, PA 19101-7346
                Number Street City State ZIp Code                     As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                          Contingent
            Debtor 1 only                                             Unliquidated
             Debtor 2 only                                            Disputed
             Debtor 1 and Debtor 2 only                              Type of PRIORITY unsecured claim:

             At least one of the debtors and another                  Domestic support obligations
             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
            Is the claim subject to offset?                            Claims for death or personal injury while you were intoxicated
            No                                                        Other. Specify
             Yes
     Part 2:       List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

            No. You have nothing to report in this part. Submit this form to the court with your other schedules.
           Yes.
     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part
           2.
                                                                                                                                                                Total claim

     4.1        Alltran Financial LP                                     Last 4 digits of account number         4318                                                       $9,549.00
                Nonpriority Creditor's Name
                                                                         When was the debt incurred?
                PO Box 4043
                Concord, CA 94524-4043
                Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.

                Debtor 1 only                                            Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community                  Student loans
                debt                                                      Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims
                No                                                       Debts to pension or profit-sharing plans, and other similar debts
                 Yes                                                    Other. Specify




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     4.2      American Express                                        Last 4 digits of account number       3001                                        $15,673.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 297812
              Ft. Lauderdale, FL 33329-7812
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.3      Anthony Castellino                                      Last 4 digits of account number                                                   $39,000.00
              Nonpriority Creditor's Name
              Rubicon Pine LLC                                        When was the debt incurred?
              711 Chiltern Rd
              Hillsborough, CA 94010-7025
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.4      ARS National Services                                   Last 4 digits of account number       5405                                        $37,300.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 469046
              Escondido, CA 92046-9046
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     4.5      Bank of the West                                        Last 4 digits of account number       5906                                        $97,373.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 515274
              Los Angeles, CA 90051-6574
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.6      Bank of the West                                        Last 4 digits of account number       5906                                        $24,159.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 515274
              Los Angeles, CA 90051-6574
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.7      Beneflex HR                                             Last 4 digits of account number                                                     $400.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              10805 Sunset Office Dr # 401
              Saint Louis, MO 63127-1028
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     4.8      Blue Shield                                             Last 4 digits of account number       0620                                         $192.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 241012
              Lodi, CA 95241-9512
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.9      Cal Coast Credit Service                                Last 4 digits of account number                                                   $1,216.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              1142 State Farm Dr
              Santa Rosa, CA 95403-2717
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.10     Cal Coast Credit Service                                Last 4 digits of account number                                                   $1,968.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              1142 State Farm Dr
              Santa Rosa, CA 95403-2717
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     4.11     Capital Management Services                             Last 4 digits of account number       2983                                          $5,000.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              698 1/2 S Ogden St
              Buffalo, NY 14206-2317
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.12     Capital One                                             Last 4 digits of account number                                                         $0.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 30285
              Salt Lake City, UT 84130-0285
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.13     Citibank Texas Processing Center                        Last 4 digits of account number       6736                                        $215,947.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 9241
              Uniondale, NY 11555-9241
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     4.14     Corodata File Storage                                   Last 4 digits of account number       2364                                         $500.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 842638
              Los Angeles, CA 90084-2638
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.15     David Baga                                              Last 4 digits of account number                                                      $0.00
              Nonpriority Creditor's Name
              C/O Raymond Baga                                        When was the debt incurred?
              846 Middle Ave # 1
              Menlo Park, CA 94025-5121
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.16     Dice                                                    Last 4 digits of account number                                                   $2,400.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              12150 Meredith Dr
              Urbandale, IA 50323-1500
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     4.17     Discover                                                Last 4 digits of account number       6946                                        $7,659.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 3025
              New Albany, OH 43054-3025
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.18     EnerBank USA                                            Last 4 digits of account number       0443                                        $3,500.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 26856
              Salt Lake City, UT 84126-0856
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.19     Espinoza Law Firm                                       Last 4 digits of account number       2342                                        $5,372.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              444 Pearl St # A6
              Monterey, CA 93940-3062
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     4.20     Home Depot                                              Last 4 digits of account number       3565                                           $0.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 182676
              Columbus, OH 43218-2676
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.21     Home Depot Credit Services                              Last 4 digits of account number                                                   $1,500.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 790328
              Saint Louis, MO 63179-0328
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.22     Hydroxatone                                             Last 4 digits of account number                                                    $150.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 1366
              Hoboken, NJ 07030-1366
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     Debtor 1 Baga, Peter Marcello                                                                         Case number (if know)

     4.23     Joseph Creitz                                           Last 4 digits of account number                                                    unknown
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              100 Pine St Ste 1250
              San Francisco, CA 94111-5235
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.24     Knight Capital Funding                                  Last 4 digits of account number                                                   $46,580.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              9 E Loockerman St # 3A-543
              Dover, DE 19901-8306
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.25     Lanz W Brooks                                           Last 4 digits of account number                                                   $55,000.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              645 Hayes St
              San Francisco, CA 94102-4129
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     Debtor 1 Baga, Peter Marcello                                                                         Case number (if know)

     4.26     Lease Corporation of America                            Last 4 digits of account number       2001                                        $1,500.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 1650
              Troy, MI 48099-1650
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.27     Monster                                                 Last 4 digits of account number       1182                                        $2,500.00
              Nonpriority Creditor's Name
              c/o Caine and Weiner                                    When was the debt incurred?
              1699 E Woodfield Rd
              Schaumburg, IL 60173-4947
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.28     Morling and Company                                     Last 4 digits of account number       8101                                        $3,000.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              44 Montgomery St # 1900
              San Francisco, CA 94104-4706
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     4.29     Morling and Company                                     Last 4 digits of account number                                                   $8,700.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              44 Montgomery St # 1900
              San Francisco, CA 94104-4706
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.30     Northalnd Group Macy's                                  Last 4 digits of account number       7048                                        $1,024.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 390905
              Minneapolis, MN 55439-0905
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.31     PenSys Inc                                              Last 4 digits of account number       8101                                        $3,000.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              2440 Professional Dr
              Roseville, CA 95661-7773
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     4.32     Raymond Baga                                            Last 4 digits of account number                                                   $120,000.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              846 Middle Ave # 1
              Menlo Park, CA 94025-5121
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.33     Robert Elsen MD                                         Last 4 digits of account number       3460                                          $1,216.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              45 Castro St # 437
              San Francisco, CA 94114-1029
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.34     Rubicon Pine LLC                                        Last 4 digits of account number                                                    $20,000.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              711 Chiltern Rd
              Hillsborough, CA 94010-7025
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     4.35     Southwest Credit                                        Last 4 digits of account number       5309                                          $400.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              4120 International Pkwy # 1100
              Carrollton, TX 75007-1958
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.36     Synchrony Bank                                          Last 4 digits of account number       5162                                        $11,101.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 965004
              Orlando, FL 32896-5004
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.37     Synchrony Bank Care Credit                              Last 4 digits of account number       9003                                          $630.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 960061
              Orlando, FL 32896-0061
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     4.38     Target National Bank                                    Last 4 digits of account number       5828                                             $0.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 660170
              Dallas, TX 75266-0170
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.39     UCSF Periodontal Specialty Clinic                       Last 4 digits of account number       1838                                          $154.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              707 Parnassus Ave # 762
              San Francisco, CA 94143-2210
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.40     Wells Fargo Card Services                               Last 4 digits of account number       8163                                        $37,265.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 51193
              Los Angeles, CA 90051-5493
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     4.41     Wells Fargo Card Services                               Last 4 digits of account number       0148                                        $11,122.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 51193
              Los Angeles, CA 90051-5493
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.42     Wells Fargo Card Services                               Last 4 digits of account number       6978                                         $4,229.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              PO Box 51193
              Los Angeles, CA 90051-5493
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify

     4.43     Westamerica Bank                                        Last 4 digits of account number                                                   $30,000.00
              Nonpriority Creditor's Name
                                                                      When was the debt incurred?
              300 Ignacio Valley Cir
              Novato, CA 94949-5526
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

              Debtor 1 only                                           Contingent
               Debtor 2 only                                          Unliquidated
               Debtor 1 and Debtor 2 only                             Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                 Student loans
              debt                                                     Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims
              No                                                      Debts to pension or profit-sharing plans, and other similar debts
               Yes                                                   Other. Specify




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     4.44      Westamerica Bank                                       Last 4 digits of account number       9798                                                     $0.00
               Nonpriority Creditor's Name
                                                                      When was the debt incurred?
               PO Box 1220
               Suisun City, CA 94585-1220
               Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.

               Debtor 1 only                                          Contingent
                Debtor 2 only                                         Unliquidated
                Debtor 1 and Debtor 2 only                            Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                Student loans
               debt                                                    Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                        report as priority claims
               No                                                     Debts to pension or profit-sharing plans, and other similar debts
                Yes                                                  Other. Specify

     Part 3:     List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.
     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Alltran Financial LP                                        Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     PO Box 722929                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
     Houston, TX 77272-2929
                                                                 Last 4 digits of account number                3001
     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Amanda L Barton Esq                                         Line 4.24 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
     1691 Michigan Ave # 230                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
     Miami Beach, FL 33139-2566
                                                                 Last 4 digits of account number

     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Cadles of West Virginia LLC                                 Line 4.13 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
     100 N Center St                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
     Newton Falls, OH 44444-1321
                                                                 Last 4 digits of account number                6736
     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Cal Coast Credit Service                                    Line 4.21 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
     1142 State Farm Dr                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     Santa Rosa, CA 95403-2717
                                                                 Last 4 digits of account number

     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     CIR Law Offices                                             Line 4.17 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
     2650 Camino del Rio N # 308                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
     San Diego, CA 92108-1632
                                                                 Last 4 digits of account number                6946
     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Daniel Conlin MD                                            Line 4.33 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
     2100 Webster St Ste 315                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
     San Francisco, CA 94115-2377
                                                                 Last 4 digits of account number                3460
     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Home Depot                                                  Line 4.20 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
     PO Box 790328                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
     Saint Louis, MO 63179-0328
                                                                 Last 4 digits of account number                3565


    Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 17 of 19
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Filed 04/04/18                                                                  Case 18-22026                                                                                Doc 1
     Debtor 1 Baga, Peter Marcello                                                                             Case number (if know)

     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Jamie C Couche                                              Line 4.3 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     Anderson and Poole                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
     601 California St # 1300
     San Francisco, CA 94108-2818
                                                                 Last 4 digits of account number

     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Jonathan Neil and Associates                                Line 4.5 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     18321 Ventura Blvd # 1000                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
     Tarzana, CA 91356-4255
                                                                 Last 4 digits of account number                      5906
     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Leviton Law Firm LTD                                        Line 4.27 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
     3 Golf Ctr # 361                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
     Hoffman Estates, IL 60169-4910
                                                                 Last 4 digits of account number                      1182
     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Michael and Associates                                      Line 4.2 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     555 Saint Charles Dr # 204                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
     Thousand Oaks, CA 91360-3992
                                                                 Last 4 digits of account number                      3001
     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Pucin &Friedland PC                                         Line 4.27 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
     1699 E Woodfield Rd # 360A                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
     Schaumburg, IL 60173-4947
                                                                 Last 4 digits of account number                      1182
     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     TD Bank USA                                                 Line 4.38 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
     3901 W 53rd St                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
     Sioux Falls, SD 57106-4221
                                                                 Last 4 digits of account number                      5828
     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     The Best Service Company                                    Line 4.6 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     PO Box 45405                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
     Los Angeles, CA 90045-0405
                                                                 Last 4 digits of account number                      5906
     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     Transworld Systems                                          Line 4.8 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     500 Virginia Dr # 514                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
     Fort Washington, PA 19034-2707
                                                                 Last 4 digits of account number                      0620
     Name and Address                                            On which entry in Part 1 or Part 2 did you list the original creditor?
     USAA                                                        Line 4.1 of (Check one):                 Part 1: Creditors with Priority Unsecured Claims
     9800 Fredericksburg Rd                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
     San Antonio, TX 78288-0001
                                                                 Last 4 digits of account number                      4318

     Part 4:     Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                   Total Claim
                            6a.   Domestic support obligations                                                  6a.      $                         0.00
     Total claims
      from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.      $                    4,399.00
                            6c.   Claims for death or personal injury while you were intoxicated                6c.      $                        0.00
                            6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.      $                        0.00



    Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 18 of 19
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     Debtor 1 Baga, Peter Marcello                                                                       Case number (if know)

                            6e.   Total Priority. Add lines 6a through 6d.                                6e.     $                  4,399.00

                                                                                                                           Total Claim
                            6f.   Student loans                                                           6f.     $                      0.00
     Total claims
      from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                   6g.     $                      0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts       6h.     $                      0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount    6i.
                                  here.                                                                           $               826,279.00

                            6j.   Total Nonpriority. Add lines 6f through 6i.                             6j.     $               826,279.00




    Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 19 of 19
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Filed 04/04/18                                                                     Case 18-22026                                                                         Doc 1
     Fill in this information to identify your case:

     Debtor 1                Peter Marcello Baga
                             First Name                         Middle Name               Last Name

     Debtor 2
     (Spouse if, filing)     First Name                         Middle Name               Last Name


                                                         EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:             DIVISION

     Case number
     (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                 amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.      Do you have any executory contracts or unexpired leases?
            No. Check this box and file this form with the court with your other schedules.     You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
    2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
            example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
            unexpired leases.


             Person or company with whom you have the contract or lease                     State what the contract or lease is for
                             Name, Number, Street, City, State and ZIP Code
      2.1
               Name


               Number      Street

               City                                   State                   ZIP Code
      2.2
               Name


               Number      Street

               City                                   State                   ZIP Code
      2.3
               Name


               Number      Street

               City                                   State                   ZIP Code
      2.4
               Name


               Number      Street

               City                                   State                   ZIP Code
      2.5
               Name


               Number      Street

               City                                   State                   ZIP Code




    Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                                       Page 1 of 1
    Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
Filed 04/04/18                                                                        Case 18-22026                                                                  Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Peter Marcello Baga
                                First Name                            Middle Name            Last Name

     Debtor 2
     (Spouse if, filing)        First Name                            Middle Name            Last Name


                                                              EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:                  DIVISION

     Case number
     (if known)
                                                                                                                                          Check if this is an
                                                                                                                                           amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                              12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
    are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
    and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
    case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
           Yes
           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
           California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                    No
                     Yes.

                            In which community state or territory did you live?                             . Fill in the name and current address of that person.


                            Name of your spouse, former spouse, or legal equivalent
                            Number, Street, City, State & Zip Code

       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
          line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form
          106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out
          Column 2.

                    Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                           Check all schedules that apply:

        3.1                                                                                                   Schedule D, line
                     Name
                                                                                                              Schedule E/F, line
                                                                                                              Schedule G, line
                     Number            Street
                     City                                     State                           ZIP Code




        3.2                                                                                                   Schedule D, line
                     Name
                                                                                                              Schedule E/F, line
                                                                                                              Schedule G, line
                     Number            Street
                     City                                     State                           ZIP Code




    Official Form 106H                                                                   Schedule H: Your Codebtors                                     Page 1 of 1
    Software Copyright (c) 1996-2018 CIN Group - www.cincompass.com
Filed 04/04/18                                                          Case 18-22026                                                                              Doc 1



     Fill in this information to identify your case:

     Debtor 1                      Peter Marcello Baga

     Debtor 2
     (Spouse, if filing)


     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA,
                                                   SACRAMENTO DIVISION

     Case number                                                                                               Check if this is:
     (If known)
                                                                                                                An amended filing
                                                                                                                A supplement showing postpetition chapter 13
                                                                                                                  income as of the following date:
     Official Form 106I                                                                                            MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                  Debtor 1                                   Debtor 2 or non-filing spouse

            If you have more than one job,                                 Employed                                  Employed
            attach a separate page with           Employment status
            information about additional                                  Not employed                               Not employed
            employers.
                                                  Occupation
            Include part-time, seasonal, or
            self-employed work.                   Employer's name

            Occupation may include student or Employer's address
            homemaker, if it applies.


                                                  How long employed there?

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
    unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more
    space, attach a separate sheet to this form.

                                                                                                             For Debtor 1        For Debtor 2 or
                                                                                                                                 non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.            2.    $              0.00     $               N/A

     3.     Estimate and list monthly overtime pay.                                                3.   +$              0.00     +$              N/A

     4.     Calculate gross Income. Add line 2 + line 3.                                           4.    $           0.00            $         N/A




    Official Form 106I                                                        Schedule I: Your Income                                                     page 1
Filed 04/04/18                                                        Case 18-22026                                                                                   Doc 1


     Debtor 1   Baga, Peter Marcello                                                                    Case number (if known)



                                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                                    non-filing spouse
          Copy line 4 here                                                                       4.         $              0.00     $              N/A

     5.   List all payroll deductions:
          5a.    Tax, Medicare, and Social Security deductions                                   5a.        $              0.00     $               N/A
          5b.    Mandatory contributions for retirement plans                                    5b.        $              0.00     $               N/A
          5c.    Voluntary contributions for retirement plans                                    5c.        $              0.00     $               N/A
          5d.    Required repayments of retirement fund loans                                    5d.        $              0.00     $               N/A
          5e.    Insurance                                                                       5e.        $              0.00     $               N/A
          5f.    Domestic support obligations                                                    5f.        $              0.00     $               N/A
          5g.    Union dues                                                                      5g.        $              0.00     $               N/A
          5h.    Other deductions. Specify:                                                      5h.+       $              0.00 +   $               N/A
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                         6.     $                  0.00     $               N/A
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                    7.     $                  0.00     $               N/A
     8.   List all other income regularly received:
          8a.    Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                             8a.        $              0.00     $               N/A
          8b. Interest and dividends                                                             8b.        $              0.00     $               N/A
          8c.    Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                            8c.        $              0.00     $               N/A
          8d. Unemployment compensation                                                          8d.        $              0.00     $               N/A
          8e.    Social Security                                                                 8e.        $              0.00     $               N/A
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                        8f.  $                0.00   $                     N/A
          8g. Pension or retirement income                                                       8g. $                 0.00   $                     N/A
          8h. Other monthly income. Specify: Disability                                          8h.+ $            2,300.00 + $                     N/A

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                               9.     $          2,300.00         $                N/A

     10. Calculate monthly income. Add line 7 + line 9.                                        10. $            2,300.00 + $             N/A = $           2,300.00
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                       11.     +$             0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on theSummary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies 12.        $          2,300.00
                                                                                                                                               Combined
                                                                                                                                               monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
          No.
              Yes. Explain:




    Official Form 106I                                                       Schedule I: Your Income                                                         page 2
Filed 04/04/18                                                               Case 18-22026                                                                          Doc 1



      Fill in this information to identify your case:

      Debtor 1              Peter Marcello Baga                                                                    Check if this is:
                                                                                                                    An amended filing
      Debtor 2                                                                                                      A supplement showing postpetition chapter 13
      (Spouse, if filing)                                                                                              expenses as of the following date:

      United States Bankruptcy Court for the:    EASTERN DISTRICT OF CALIFORNIA,                                           MM / DD / YYYY
                                                 SACRAMENTO DIVISION

      Case number
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                               12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
      (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
            No. Go to line 2.
             Yes. Does Debtor 2 live in a separate household?
                   No
                   Yes. Debtor 2 must file Official Form 106J-2,Expenses for Separate Household of Debtor 2.

      2.    Do you have dependents?             No
            Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’  s relationship to        Dependent’
                                                                                                                                       s     Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

            Do not state the                                                                                                                  No
            dependents names.                                                                                                                 Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
                                                                                                                                              No
                                                                                                                                              Yes
      3.    Do your expenses include
            expenses of people other than
                                                      No
            yourself and your dependents?              Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know the
      value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                       Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                            4. $                          1,000.00

            If not included in line 4:

            4a.   Real estate taxes                                                                               4a.    $                            0.00
            4b. Property, homeowner’    s, or renter’
                                                    s insurance                                                   4b.    $                            0.00
            4c.   Home maintenance, repair, and upkeep expenses                                                   4c.    $                            0.00
            4d. Homeowner’     s association or condominium dues                                                  4d.    $                            0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                            0.00



      Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
Filed 04/04/18                                                              Case 18-22026                                                                                    Doc 1


      Debtor 1     Baga, Peter Marcello                                                                      Case number (if known)

      6.    Utilities:
            6a.     Electricity, heat, natural gas                                                    6a. $                                                0.00
            6b. Water, sewer, garbage collection                                                     6b. $                                                 0.00
            6c.     Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                              214.00
            6d. Other. Specify:                                                                      6d. $                                                 0.00
      7.    Food and housekeeping supplies                                                             7. $                                              600.00
      8.    Childcare and children’     s education costs                                              8. $                                                0.00
      9.    Clothing, laundry, and dry cleaning                                                        9. $                                              100.00
      10.   Personal care products and services                                                      10. $                                               100.00
      11.   Medical and dental expenses                                                              11. $                                                50.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                             12. $                                               300.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                       13. $                                                 0.00
      14.   Charitable contributions and religious donations                                         14. $                                                 0.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                     15a. $                                                 0.00
            15b. Health insurance                                                                   15b. $                                                 0.00
            15c. Vehicle insurance                                                                  15c. $                                               178.00
            15d. Other insurance. Specify:                                                          15d. $                                                 0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                                 16. $                                                  0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                         17a. $                                               473.00
            17b. Car payments for Vehicle 2                                                         17b. $                                                 0.00
            17c. Other. Specify:                                                                    17c. $                                                 0.00
            17d. Other. Specify:                                                                    17d. $                                                 0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).          18. $                                                  0.00
      19.   Other payments you make to support others who do not live with you.                           $                                                 0.00
            Specify:                                                                                 19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                        20a. $                                                  0.00
            20b. Real estate taxes                                                                  20b. $                                                  0.00
            20c. Property, homeowner’      s, or renter’
                                                       s insurance                                  20c. $                                                  0.00
            20d. Maintenance, repair, and upkeep expenses                                           20d. $                                                  0.00
            20e. Homeowner’       s association or condominium dues                                 20e. $                                                  0.00
      21.   Other: Specify:                                                                          21. +$                                                 0.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                      $                       3,015.00
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                              $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                 $                       3,015.00
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                       23a. $                               2,300.00
          23b. Copy your monthly expenses from line 22c above.                                                    23b. -$                              3,015.00

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                           23c. $                                -715.00

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
            No.
             Yes.              Explain here:




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Filed 04/04/18                                                       Case 18-22026                                                                               Doc 1



     Fill in this information to identify your case:

     Debtor 1                    Peter Marcello Baga
                                 First Name            Middle Name              Last Name

     Debtor 2
     (Spouse if, filing)         First Name            Middle Name              Last Name

                                                  EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:      DIVISION

     Case number
     (if known)
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                   12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


                   No

                   Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                            Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ Peter Baga                                                    X
                  Peter Marcello Baga                                               Signature of Debtor 2
                  Signature of Debtor 1

                  Date       February 21, 2018                                      Date
Filed 04/04/18                                                                   Case 18-22026                                                                             Doc 1



     Fill in this information to identify your case:

     Debtor 1                 Peter Marcello Baga
                              First Name                      Middle Name                    Last Name

     Debtor 2
     (Spouse if, filing)      First Name                      Middle Name                    Last Name

                                                        EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:            DIVISION

     Case number
     (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                 amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                               4/16
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                 Married
                 Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                 No
                 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                   Dates Debtor 1 lived     Debtor 2 Prior Address:                               Dates Debtor 2
                                                                      there                                                                          lived there
            4966 17th St                                              From-To:                  Same as Debtor 1                                     Same as Debtor 1
            San Francisco, CA 94117-4220                              Oct 1994 to June                                                               From-To:
                                                                      7, 2017


    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                 No
                 Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     Part 2         Explain the Sources of Your Income

    4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                 No
                 Yes. Fill in the details.

                                                      Debtor 1                                                       Debtor 2
                                                      Sources of income                 Gross income                 Sources of income               Gross income
                                                      Check all that apply.             (before deductions and       Check all that apply.           (before deductions
                                                                                        exclusions)                                                  and exclusions)




    Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1

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     Debtor 1     Baga, Peter Marcello                                                                        Case number (if known)



                                                      Debtor 1                                                       Debtor 2
                                                      Sources of income                  Gross income                Sources of income             Gross income
                                                      Check all that apply.              (before deductions and      Check all that apply.         (before deductions
                                                                                         exclusions)                                               and exclusions)

     From January 1 of current year until             Wages, commissions,                                $0.00       Wages, commissions,
     the date you filed for bankruptcy:                                                                              bonuses, tips
                                                      bonuses, tips
                                                       Operating a business                                          Operating a business

     For last calendar year:                          Wages, commissions,                                $0.00       Wages, commissions,
     (January 1 to December 31, 2017 )                                                                               bonuses, tips
                                                      bonuses, tips
                                                       Operating a business                                          Operating a business

     For the calendar year before that:               Wages, commissions,                           $5,268.00        Wages, commissions,
     (January 1 to December 31, 2016 )                                                                               bonuses, tips
                                                      bonuses, tips
                                                       Operating a business                                          Operating a business


    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and
          other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If
          you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

               No
               Yes. Fill in the details.

                                                      Debtor 1                                                       Debtor 2
                                                      Sources of income                  Gross income from           Sources of income             Gross income
                                                      Describe below.                    each source                 Describe below.               (before deductions
                                                                                         (before deductions and                                    and exclusions)
                                                                                         exclusions)
     For last calendar year:                          none, other than                                    $0.00
     (January 1 to December 31, 2017 )                disability


     Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’
                             s or Debtor 2’
                                          s debts primarily consumer debts?
               No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “
                                                                                                                                        incurred by an
                        individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.         Go to line 7.
                            Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                                    creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                                    payments to an attorney for this bankruptcy case.
                        * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.
               Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                            No.      Go to line 7.
                            Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                                      payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                                      this bankruptcy case.


           Creditor's Name and Address                                Dates of payment          Total amount         Amount you        Was this payment for ...
                                                                                                        paid            still owe



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    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of
          which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a
          business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

               No
               Yes. List all payments to an insider.
           Insider's Name and Address                                 Dates of payment          Total amount         Amount you        Reason for this payment
                                                                                                        paid            still owe

    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

               No
               Yes. List all payments to an insider
           Insider's Name and Address                                 Dates of payment          Total amount         Amount you        Reason for this payment
                                                                                                        paid            still owe      Include creditor's name

     Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
          and contract disputes.

               No
               Yes. Fill in the details.
           Case title                                                 Nature of the case       Court or agency                         Status of the case
           Case number
           Knight Capital Funding v Baga                              collection action        11th Judicial district of                  Pending
           17-010679                                                                           Miami Dade FL                              On appeal
                                                                                                                                        Concluded

           Cal Coast v Baga                                           collection action        San Francisco Superior                   Pending
           CGC 14 538035                                                                                                                  On appeal
                                                                                                                                          Concluded


           Rubicon Pine LLC v Baga                                    suit by former           San Francisco Superior                   Pending
           CGC XX-XXXXXXX                                             landlord                                                            On appeal
                                                                                                                                          Concluded



    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

               No. Go to line 11.
               Yes. Fill in the information below.
           Creditor Name and Address                                  Describe the Property                                     Date                        Value of the
                                                                                                                                                               property
                                                                      Explain what happened

    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
               No
               Yes. Fill in the details.
           Creditor Name and Address                                  Describe the action the creditor took                     Date action was                 Amount
                                                                                                                                taken




    Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

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    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

               No
               Yes

     Part 5:     List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
               No
               Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600 per                 Describe the gifts                                     Dates you gave               Value
           person                                                                                                                the gifts

           Person to Whom You Gave the Gift and
           Address:

    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
               No
               Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                 Describe what you contributed                          Dates you                    Value
           more than $600                                                                                                        contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)

     Part 6:     List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
        or gambling?

               No
               Yes. Fill in the details.
           Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your      Value of property
           how the loss occurred                                                                                                 loss                           lost
                                                              Include the amount that insurance has paid. List pending
                                                              insurance claims on line 33 ofSchedule A/B: Property.

     Part 7:     List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

               No
               Yes. Fill in the details.
           Person Who Was Paid                                            Description and value of any property                  Date payment or         Amount of
           Address                                                        transferred                                            transfer was             payment
           Email or website address                                                                                              made
           Person Who Made the Payment, if Not You
           Law Offices of Matthew Spielberg                               0.00                                                   December 1,             $1,050.00
           21855 Redwood Rd                                                                                                      2016
           Castro Valley, CA 94546-6435


           Matthew M Spielberg                                                                                                   August 22,                $750.00
                                                                                                                                 2017

           Matthew M Spielberg                                                                                                   11-21-2017                $450.00



           Matthew Spielberg                                                                                                     Feb 22, 2018            $1,600.00

           Lanz W Brooks

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    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

               No
               Yes. Fill in the details.
           Person Who Was Paid                                            Description and value of any property                   Date payment or            Amount of
           Address                                                        transferred                                             transfer was                payment
                                                                                                                                  made

    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not include
        gifts and transfers that you have already listed on this statement.
               No
               Yes. Fill in the details.
           Person Who Received Transfer                                   Description and value of                   Describe any property or       Date transfer was
           Address                                                        property transferred                       payments received or debts     made
                                                                                                                     paid in exchange
           Person's relationship to you

    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)
               No
               Yes. Fill in the details.
           Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                    made

     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
               No
               Yes. Fill in the details.
           Name of Financial Institution and                          Last 4 digits of           Type of account or          Date account was       Last balance before
           Address (Number, Street, City, State and ZIP               account number             instrument                  closed, sold,           closing or transfer
           Code)                                                                                                             moved, or
                                                                                                                             transferred

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

               No
               Yes. Fill in the details.
           Name of Financial Institution                                  Who else had access to it?             Describe the contents                 Do you still
           Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State                                         have it?
                                                                          and ZIP Code)

    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

               No
               Yes. Fill in the details.
           Name of Storage Facility                                       Who else has or had access             Describe the contents                 Do you still
           Address (Number, Street, City, State and ZIP Code)             to it?                                                                       have it?
                                                                          Address (Number, Street, City, State
                                                                          and ZIP Code)

     Part 9:       Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for



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          someone.

               No
               Yes. Fill in the details.
           Owner's Name                                                Where is the property?                     Describe the property                     Value
           Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, State and ZIP
                                                                       Code)

           William T Longacre Trust                                    bank account at Patelco                                                           $600.00



     Part 10:    Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

         Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations
          controlling the cleanup of these substances, wastes, or material.
         Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to
          own, operate, or utilize it, including disposal sites.
         Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous
          material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

               No
               Yes. Fill in the details.
           Name of site                                                Governmental unit                              Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                       ZIP Code)

    25. Have you notified any governmental unit of any release of hazardous material?

               No
               Yes. Fill in the details.
           Name of site                                                Governmental unit                              Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)          Address (Number, Street, City, State and       know it
                                                                       ZIP Code)

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

               No
               Yes. Fill in the details.
           Case Title                                                  Court or agency                            Nature of the case              Status of the
           Case Number                                                 Name                                                                       case
                                                                       Address (Number, Street, City, State
                                                                       and ZIP Code)

     Part 11:    Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                An officer, director, or managing executive of a corporation
                An owner of at least 5% of the voting or equity securities of a corporation



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                No. None of the above applies. Go to Part 12.

                Yes. Check all that apply above and fill in the details below for each business.
            Business Name                                             Describe the nature of the business          Employer Identification number
            Address                                                                                                Do not include Social Security number or ITIN.
            (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                   Dates business existed
            Baga Forgrave Interests Inc                               Staffing                                     EIN:         XX-XXXXXXX
                                                                                                                   From-To


    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

                No
                Yes. Fill in the details below.
            Name                                                      Date Issued
            Address
            (Number, Street, City, State and ZIP Code)

     Part 12:     Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are
    true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

     /s/ Peter Baga
     Peter Marcello Baga                                                      Signature of Debtor 2
     Signature of Debtor 1

     Date      February 21, 2018                                              Date

    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
    No
     Yes
    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
    No
     Yes. Name of Person                   . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




    Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7

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     Fill in this information to identify your case:

     Debtor 1                  Peter Marcello Baga
                               First Name                     Middle Name                Last Name

     Debtor 2
     (Spouse if, filing)      First Name                      Middle Name                Last Name

                                                        EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO
     United States Bankruptcy Court for the:            DIVISION

     Case number
     (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
    you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on
            the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
              and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
             write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral   What do you intend to do with the property that     Did you claim the property
                                                                    secures a debt?                                     as exempt on Schedule C?



        Creditor's         Wells Fargo Dealer Services                       Surrender the property.                                   No
        name:                                                                Retain the property and redeem it.
                                                                             Retain the property and enter into a Reaffirmation         Yes
        Description of       2014 Ram 1500                                     Agreement.
        property                                                            Retain the property and [explain]:
        securing debt:                                                       Retain and pay pursuant to contract

     Part 2:  List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in
    the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You
    may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                              Will the lease be assumed?

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes



    Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                                            page 1

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     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Lessor's name:                                                                                                                 No
     Description of leased
     Property:                                                                                                                      Yes

     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ Peter Baga                                                             X
           Peter Marcello Baga                                                            Signature of Debtor 2
           Signature of Debtor 1

           Date        February 21, 2018                                              Date




    Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                           page 2

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    B2030 (Form 2030) (12/15)
                                                                 United States Bankruptcy Court
                                                        Eastern District of California, Sacramento Division
     In re       Baga, Peter Marcello                                                                            Case No.
                                                                                 Debtor(s)                       Chapter      7

                                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
    1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
           be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                 $                    3,850.00
                 Prior to the filing of this statement I have received                                       $                    3,850.00
                 Balance Due                                                                                 $                        0.00

    2.     The source of the compensation paid to me was:
                       Debtor         Other (specify):

    3.     The source of compensation to be paid to me is:
                       Debtor         Other (specify):

    4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
                firm.

              I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
           b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           d.   [Other provisions as needed]


    6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                   Representation in Adversary Proceedings or Contested matters.
                                                                         CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

         February 21, 2018                                                       /s/ Matthew Spielberg
         Date                                                                    Matthew Spielberg
                                                                                 Signature of Attorney
                                                                                 Law Offices of Matthew Spielberg

                                                                                 21855 Redwood Rd
                                                                                 Castro Valley, CA 94546-6435
                                                                                 (510) 886-5751
                                                                                 mspielberg@earthlink.net
                                                                                 Name of law firm




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                 Alltran Financial LP
                 PO Box 4043
                 Concord, CA 94524-4043


                 Alltran Financial LP
                 PO Box 722929
                 Houston, TX 77272-2929


                 Amanda L Barton Esq
                 1691 Michigan Ave # 230
                 Miami Beach, FL 33139-2566


                 American Express
                 PO Box 297812
                 Ft. Lauderdale, FL   33329-7812


                 Anthony Castellino
                 Rubicon Pine LLC
                 711 Chiltern Rd
                 Hillsborough, CA 94010-7025


                 ARS National Services
                 PO Box 469046
                 Escondido, CA 92046-9046


                 Bank of the West
                 PO Box 515274
                 Los Angeles, CA 90051-6574
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                 Beneflex HR
                 10805 Sunset Office Dr # 401
                 Saint Louis, MO 63127-1028


                 Blue Shield
                 PO Box 241012
                 Lodi, CA 95241-9512


                 CA Employment Development Department
                 Bankruptcy Special Procedures Group
                 Sacramento, CA 94280-0001


                 Cadles of West Virginia LLC
                 100 N Center St
                 Newton Falls, OH 44444-1321


                 Cal Coast Credit Service
                 1142 State Farm Dr
                 Santa Rosa, CA 95403-2717


                 Capital Management Services
                 698 1/2 S Ogden St
                 Buffalo, NY 14206-2317


                 Capital One
                 PO Box 30285
                 Salt Lake City, UT   84130-0285
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                 CIR Law Offices
                 2650 Camino del Rio N # 308
                 San Diego, CA 92108-1632


                 Citibank Texas Processing Center
                 PO Box 9241
                 Uniondale, NY 11555-9241


                 Corodata File Storage
                 PO Box 842638
                 Los Angeles, CA 90084-2638


                 Daniel Conlin MD
                 2100 Webster St Ste 315
                 San Francisco, CA 94115-2377


                 David Baga
                 C/O Raymond Baga
                 846 Middle Ave # 1
                 Menlo Park, CA 94025-5121


                 Dice
                 12150 Meredith Dr
                 Urbandale, IA 50323-1500


                 Discover
                 PO Box 3025
                 New Albany, OH   43054-3025
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                 EnerBank USA
                 PO Box 26856
                 Salt Lake City, UT   84126-0856


                 Espinoza Law Firm
                 444 Pearl St # A6
                 Monterey, CA 93940-3062


                 Home Depot
                 PO Box 790328
                 Saint Louis, MO   63179-0328


                 Home Depot
                 PO Box 182676
                 Columbus, OH 43218-2676


                 Home Depot Credit Services
                 PO Box 790328
                 Saint Louis, MO 63179-0328


                 Hydroxatone
                 PO Box 1366
                 Hoboken, NJ   07030-1366


                 IRS Centralized Insolvency Operation
                 PO Box 7346
                 Philadelphia, PA 19101-7346
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                 Jamie C Couche
                 Anderson and Poole
                 601 California St # 1300
                 San Francisco, CA 94108-2818


                 Jonathan Neil and Associates
                 18321 Ventura Blvd # 1000
                 Tarzana, CA 91356-4255


                 Joseph Creitz
                 100 Pine St Ste 1250
                 San Francisco, CA 94111-5235


                 Knight Capital Funding
                 9 E Loockerman St # 3A-543
                 Dover, DE 19901-8306


                 Lanz W Brooks
                 645 Hayes St
                 San Francisco, CA   94102-4129


                 Lease Corporation of America
                 PO Box 1650
                 Troy, MI 48099-1650


                 Leviton Law Firm LTD
                 3 Golf Ctr # 361
                 Hoffman Estates, IL 60169-4910
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                 Michael and Associates
                 555 Saint Charles Dr # 204
                 Thousand Oaks, CA 91360-3992


                 Monster
                 c/o Caine and Weiner
                 1699 E Woodfield Rd
                 Schaumburg, IL 60173-4947


                 Morling and Company
                 44 Montgomery St # 1900
                 San Francisco, CA 94104-4706


                 Northalnd Group Macy's
                 PO Box 390905
                 Minneapolis, MN 55439-0905


                 PenSys Inc
                 2440 Professional Dr
                 Roseville, CA 95661-7773


                 Pucin &Friedland PC
                 1699 E Woodfield Rd # 360A
                 Schaumburg, IL 60173-4947


                 Raymond Baga
                 846 Middle Ave # 1
                 Menlo Park, CA 94025-5121
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                 Robert Elsen MD
                 45 Castro St # 437
                 San Francisco, CA 94114-1029


                 Rubicon Pine LLC
                 711 Chiltern Rd
                 Hillsborough, CA    94010-7025


                 Southwest Credit
                 4120 International Pkwy # 1100
                 Carrollton, TX 75007-1958


                 Synchrony Bank
                 PO Box 965004
                 Orlando, FL 32896-5004


                 Synchrony Bank Care Credit
                 PO Box 960061
                 Orlando, FL 32896-0061


                 Target National Bank
                 PO Box 660170
                 Dallas, TX 75266-0170


                 TD Bank USA
                 3901 W 53rd St
                 Sioux Falls, SD    57106-4221
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                 The Best Service Company
                 PO Box 45405
                 Los Angeles, CA 90045-0405


                 Transworld Systems
                 500 Virginia Dr # 514
                 Fort Washington, PA 19034-2707


                 UCSF Periodontal Specialty Clinic
                 707 Parnassus Ave # 762
                 San Francisco, CA 94143-2210


                 USAA
                 9800 Fredericksburg Rd
                 San Antonio, TX 78288-0001


                 Wells Fargo Card Services
                 PO Box 51193
                 Los Angeles, CA 90051-5493


                 Wells Fargo Dealer Services
                 PO Box 25341
                 Santa Ana, CA 92799-5341


                 Westamerica Bank
                 PO Box 1220
                 Suisun City, CA 94585-1220
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                 Westamerica Bank
                 300 Ignacio Valley Cir
                 Novato, CA 94949-5526
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     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Peter Marcello Baga
     Debtor 2
     (Spouse, if filing)
                                                                                                          1. There is no presumption of abuse
                                                       Eastern District of California,
                                                                                                           2. The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the:           Sacramento Division                                       applies will be made underChapter 7 Means Test
                                                                                                                 Calculation (Official Form 122A-2).
     Case number                                                                                           3. The Means Test does not apply now because of qualified
     (if known)
                                                                                                                 military service but it could apply later.
                                                                                                            Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach
    a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
    number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
    military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             Married and your spouse is NOT filing with you. You and your spouse are:
              Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                      penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
                      apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
        6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses
        own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                            Column A                 Column B
                                                                                                            Debtor 1                 Debtor 2 or
                                                                                                                                     non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                                      $                                 $
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                                    $                                 $
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents, and
         roommates. Include regular contributions from a spouse only if Column B is not filled in.
         Do not include payments you listed on line .3                                             $                                 $
      5. Net income from operating a business, profession, or farm
                                                                            Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                        -$
            Net monthly income from a business, profession, or farm $                        Copy here -> $                          $
      6. Net income from rental and other real property
                                                                                         Debtor 1
            Gross receipts (before all deductions)                            $
            Ordinary and necessary operating expenses                        -$
            Net monthly income from rental or other real property           $                Copy here -> $                          $
                                                                                                            $                        $
      7. Interest, dividends, and royalties




    Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                      page 1
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Filed 04/04/18                                                             Case 18-22026                                                                                     Doc 1
     Debtor 1     Baga, Peter Marcello                                                                      Case number (if known)



                                                                                                        Column A                     Column B
                                                                                                        Debtor 1                     Debtor 2 or
                                                                                                                                     non-filing spouse
      8. Unemployment compensation                                                                      $                            $
           Do not enter the amount if you contend that the amount received was a benefit under the
           Social Security Act. Instead, list it here:
             For you                                              $
                For your spouse                                        $
      9. Pension or retirement income. Do not include any amount received that was a benefit
          under the Social Security Act.                                                             $                               $
      10. Income from all other sources not listed above. Specify the source and amount. Do
          not include any benefits received under the Social Security Act or payments received as
          a victim of a war crime, a crime against humanity, or international or domestic terrorism.
          If necessary, list other sources on a separate page and put the total below.
                  .                                                                                  $                               $
                                                                                                        $                            $
                      Total amounts from separate pages, if any.                                    +   $                            $

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.               $                        +   $                  =    $

                                                                                                                                                     Total current monthly
                                                                                                                                                     income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                               Copy line 11 here=>            $


                  Multiply by 12 (the number of months in a year)                                                                                     x 12
           12b. The result is your annual income for this part of the form                                                                 12b. $


      13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.

           Fill in the number of people in your household.

           Fill in the median family income for your state and size of household.                                                    13.         $
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
                                                                       ’
           form. This list may also be available at the bankruptcy clerk
                                                                       s office.

      14. How do the lines compare?
           14a.          Line 12b is less than or equal to line 13. On the top of page 1, check box 1,
                                                                                                     There is no presumption of abuse.
                          Go to Part 3.
           14b.          Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Peter Baga
                    Peter Marcello Baga
                    Signature of Debtor 1
            Date February 21, 2018
                 MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.




    Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                     page 2
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Filed 04/04/18                                                                Case 18-22026                                                                          Doc 1


     Fill in this information to identify your case:

     Debtor 1           Peter Marcello Baga

     Debtor 2
     (Spouse, if filing)

                                                       Eastern District of California,
     United States Bankruptcy Court for the:           Sacramento Division
                                                                                                      Check if this is an amended filing
     Case number
     (if known)



    Official Form 122A - 1Supp
    Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                       12/15

    File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
    exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
    exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
    required by 11 U.S.C. § 707(b)(2)(C).

     Part 1:       Identify the Kind of Debts You Have

      1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal,
         family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for Individuals
         Filing for Bankruptcy (Official Form 1).

           No.      Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                     supplement with the signed Form 122A-1.
            Yes.    Go to Part 2.


     Part 2:       Determine Whether Military Service Provisions Apply to You

      2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
            No.     Go to line 3.
            Yes.    Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                     10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.       Go to line 3.
                  Yes.      Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
                             this supplement with the signed Form 122A-1.

      3. Are you or have you been a Reservist or member of the National Guard?
            No. Complete Form 122A-1. Do not submit this supplement.
            Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
               No. Complete Form 122A-1. Do not submit this supplement.
               Yes. Check any one of the following categories that applies:
                                                                                                     If you checked one of the categories to the left, go to Form
                            I was called to active duty after September 11, 2001, for at least 90   122A-1. On the top of page 1 of Form 122A-1, check box 3,
                             days and remain on active duty.                                         The Means Test does not apply now, and sign Part 3. Then
                                                                                                     submit this supplement with the signed Form 122A-1. You
                            I was called to active duty after September 11, 2001, for at least 90   are not required to fill out the rest of Official Form 122A-1
                             days and was released from active duty on                     , which   during the exclusion period. Theexclusion period means the
                             is fewer than 540 days before I file this bankruptcy case.              time you are on active duty or are performing a homeland
                                                                                                     defense activity, and for 540 days afterward. 11 U.S.C. §
                            I am performing a homeland defense activity for at least 90 days.       707(b)(2)(D)(ii).
                            I performed a homeland defense activity for at least 90 days,
                                                                                                     If your exclusion period ends before your case is closed, you
                             ending on                  , which is fewer than 540 days before I
                                                                                                     may have to file an amended form later.
                             file this bankruptcy case.




    Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                     page 1
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FiledB201B
      04/04/18
           (Form 201B) (12/09)                                                                                                 Case 18-22026                                                                     Doc 1
                                                                                                                   United States Bankruptcy Court
                                                                                                          Eastern District of California, Sacramento Division

                                                                    IN RE:                                                                                            Case No.
                                                                    Baga, Peter Marcello                                                                              Chapter 7
                                                                                                               Debtor(s)

                                                                                                   CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                       UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                     Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                    I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                    notice, as required by § 342(b) of the Bankruptcy Code.


                                                                    Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                    Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                     the Social Security number of the officer,
                                                                                                                                                                     principal, responsible person, or partner of
                                                                                                                                                                     the bankruptcy petition preparer.)
                                                                                                                                                                     (Required by 11 U.S.C. § 110.)
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                                                                    X
                                                                    Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                    partner whose Social Security number is provided above.

                                                                                                                           Certificate of the Debtor

                                                                    I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                    Baga, Peter Marcello                                                   X /s/ Peter Baga                                             2/21/2018
                                                                    Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                    Case No. (if known)                                                    X
                                                                                                                                               Signature of Joint Debtor (if any)                            Date


                                                                    Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                    Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                    NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                    attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                    page 3 of Form B1 also include this certification.
Filed 04/04/18                                                 Case 18-22026                                                   Doc 1


                                       UNITED STATES BANKRUPTCY COURT
                                        Eastern District of California, Sacramento Division



         In re    Baga, Peter Marcello                                      , Case No.
                           Debtor                                             Chapter     7


                                         STATEMENT UNDER PENALTY OF PERJURY
                                             CONCERNING PAYMENT ADVICES

            I*, Baga, Peter Marcello                      , state as follows:

            I did not file with the court copies of some or all payment advices or other evidence of payment received within
        60 days before the date of the filing of the petition from any employer because:

        Check applicable boxes:

            [ XX ] I was not employed during the two year period immediately preceding the filing of the above-referenced
            case,

            [ ] I was employed during the period immediately preceding the filing of the above referenced case but did not
            receive any payment advices or other evidence of payment from my employer within 60 days before the date of
            the filing of the petition;

            [ ] I am self-employed and do not receive any evidence of payment from an employer;

            [ ] Other (please provide explanation):                                               .

        I declare under penalty of perjury that the foregoing statement is true and correct


         Dated: February 21, 2018             By:     /s/ Peter Baga
                                                      Signature of debtor
                                                      Peter Baga
                                                      Printed name of debtor
                                                                                12691 Angie Ct
                                                                                Penn Valley, CA 95946-8907
                                                      Home Address
                                                      Telephone number
                                                      Facsimile number
                                                      E-mail address

        *A separate form must be signed for each debtor
